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                                                                       7
                                                                         Attorneys for Sam S. Leslie, Plan Agent
                                                                       8

                                                                       9                                 UNITED STATES BANKRUPTCY COURT
                                                                      10                                 CENTRAL DISTRICT OF CALIFORNIA
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR
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                                                                      11                                        LOS ANGELES DIVISION
                              LOS ANGELES, CALIFORNIA 90071-1406
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                                                                      12 In re:                                             Case No. 2:13-bk-14135-RK

                                                                      13 ART AND ARCHITECTURE BOOKS OF THE                  Adv No. 2:15-ap-01679-RK
                                                                         21ST CENTURY,
                                                                      14                                                    Chapter 11
                                                                                       Debtor.
                                                                      15                                                    Consolidated with Adv. No. 2:14-ap-01771-
SulmeyerKupetz,




                                                                         SAM LESLIE, as Plan Agent for Art &                RK and Adv. No. 2:15-ap-01680-RK
                                                                      16 Architecture Books of the 21st Century,
                                                                                                                            PLAN AGENT’S RESPONSE TO BRIEF
                                                                      17                    Plaintiff,                      FILED BY 400 S. LA BREA
                                                                                   vs.                                      ADDRESSING ISSUES RAISED IN
                                                                      18                                                    JANUARY 21, 2022 SCHEDULING
                                                                         ACE GALLERY NEW YORK                               ORDER
                                                                      19 CORPORATION, et al.,
                                                                                                                            Evidentiary Hearing:
                                                                      20                    Defendants.
                                                                                                                            Date:    December 16-17, 2021
                                                                      21 400 S. LA BREA, LLC,                                         January 13-14, 2022
                                                                                                                            Time:    9:00 a.m.
                                                                      22                    Cross-Complainant,              Place:   Courtroom 1675
                                                                                                                                     255 East Temple Street
                                                                      23           vs.                                               Los Angeles, CA 90012
                                                                                                                                     ZoomGov
                                                                      24 SAM LESLIE, et al.,

                                                                      25                    Cross-Defendants.
                                                                      26

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                                                                       1          In its supplemental post-trial brief, 400 SLB admits that Mr. Chrismas could have

                                                                       2 destroyed the Banksy at any time:

                                                                       3                  "Similarly here, Mr. Chrismas testified that graffiti was dealt with on a
                                                                                          near daily basis, and Mr. Hernandez testified that he often remediated
                                                                       4                  graffiti by painting over it. There was nothing prohibiting Mr. Chrismas
                                                                                          from doing the same to the Banksy had he considered it an act of
                                                                       5
                                                                                          vandalism and not a "wonderful artwork."
                                                                       6
                                                                           SLB Brief, 16:15-18. 1 The parties agree: nothing prohibited Ace Museum from destroying the
                                                                       7
                                                                           Banksy. The Lease did not prohibit it. The term "Alteration" did not prohibit it. The parties'
                                                                       8
                                                                           conduct over the prior four years, during which graffiti appeared regularly and tenant removed it,
                                                                       9
                                                                           did not prohibit it. Ace Museum could remove graffiti, even if it appeared on an Alteration. It did
                                                                      10
                                                                           not need further consent. Section 7.1 of the Lease required the tenant to remove graffiti when it
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                                                                           appeared. 400 SLB's assertion that removal of the Banksy was a breach of the Lease is revealed,
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                                                                      12
                                                                           by this admission, to be specious.
                                                                      13
                                                                                  The parties largely agree on the relevant law regarding accession in California. Both Briefs
                                                                      14
                                                                           analyze CC 1013 and urge the Court to apply it. Both Briefs agree that CC 1019 can be applied to
                                                                      15
SulmeyerKupetz,




                                                                           this dispute. Both Briefs acknowledge that CC 1000 provides that accession is one way that
                                                                      16
                                                                           persons can own property in California. Neither disputes that the Lease accurately reflects the
                                                                      17
                                                                           agreement of the landlord and tenant. Both Briefs discuss Dreamland.
                                                                      18
                                                                                  The dispute between the parties, instead, is how these laws should be applied here. As to
                                                                      19
                                                                           that, Plan Agent responds to certain statements made in the SLB Brief, below.
                                                                      20

                                                                      21
                                                                           1
                                                                           The supplemental brief filed by 400 SLB is the "400 S. La Brea, LLC's Supplemental Post-Trial
                                                                      22
                                                                         Brief Regarding The "Banksy" Contested Matter," filed on February 3, 2022 (Docket No. 1236,
                                                                      23 the "SLB Brief"). Capitalized terms in this response brief have the meaning given them in the
                                                                         "Plan Agent's Brief Addressing Issues Raised In January 21, 2022 Scheduling Order," filed by the
                                                                      24 Plan Agent on February 3, 2022 (Docket No. 1236, the "PA Brief", and together with the SLB
                                                                         Brief, the "Briefs").
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                                                                       1          A.       CC 1013

                                                                       2          The Briefs discuss CC 1013, which states:

                                                                       3                   §1013. Fixtures

                                                                       4                   When a person affixes his property to the land of another, without an
                                                                                           agreement permitting him to remove it, the thing affixed, except as
                                                                       5
                                                                                           otherwise provided in this chapter, belongs to the owner of the land, unless
                                                                       6                   he chooses to require the former to remove it or the former elects to
                                                                                           exercise the right of removal provided for in Section 1013.5 of this
                                                                       7                   chapter.
                                                                       8
                                                                           CC 1013 does not state, as 400 SLB suggests, "When a person affixes his property to the land of
                                                                       9
                                                                           another, without an agreement permitting him to remove it, the thing affixed … belongs to the
                                                                      10
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                                                                           owner of the land". SLB Brief, 2:24. An additional phrase exists that modifies the quoted
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                                                                           language—the exception contained in CC 1013.5.
                                                                      12
                                                                                  The PA Brief analyzes the implications of CC 1013, including applicability of CC 1013.5.
                                                                      13
                                                                           The SLB Brief does not discuss whether CC 1013.5 is applicable here. As such, there is nothing
                                                                      14
                                                                           in the SLB Brief on that issue to which Plan Agent must reply. To the extent CC 1013 applies to
                                                                      15
SulmeyerKupetz,




                                                                           this dispute, then CC 1013.5 applies for the reasons stated in the PA Brief.
                                                                      16
                                                                                  Both parties agree that CC 1013 could apply. 400 SLB's position is that "land" (as that
                                                                      17
                                                                           term is used in CC 1013) is involved, thus CC 1013 does apply. Plan Agent's position is that land
                                                                      18
                                                                           may be involved, and if so then one of the conditions is met for CC 1013 to apply. The second
                                                                      19
                                                                           condition--that there not be "an agreement permitting him to remove it"--is not met here. The
                                                                      20
                                                                           Lease contains multiple provisions allowing tenant to remove the Drywall, including (1) Section
                                                                      21
                                                                           7.1 (graffiti removal), and (2) other sections permitting removal of Utility Installations and Trade
                                                                      22
                                                                           Fixtures without consent, and Alterations with consent—consent which occurred here including
                                                                      23
                                                                           through the 400 SLB-approved architectural plans which showed the Drywall being removed from
                                                                      24
                                                                           the Premises.
                                                                      25
                                                                                  A further clause allowed removal of the Drywall, thus preventing CC 1013 from being
                                                                      26
                                                                           applicable: Section 7.4(c) which requires the tenant to remove all hazardous substances. Section
                                                                      27
                                                                           6.2(a) defines a hazardous substance as any product whose presence is either potentially injurious
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                                                                       1 to the public health, safety, or welfare of the premises, or a basis for potential liability of the

                                                                       2 Lessor.     Mr. Chrismas testified at the Hearing that the Banksy, when it appeared, attracted

                                                                       3 criminal attention almost immediately. Mr. Chrismas stated that a guard was accosted while

                                                                       4 remaining at the Premises overnight to guard the Banksy, by people who wanted to tie him up and

                                                                       5 offered him money. 2 Thankfully that did not happen, but if any guard was hurt, or the public hurt,

                                                                       6 in connection with someone seeking to cut out the Banksy, that would have created legal exposure

                                                                       7 for 400 SLB. The increased hazard to the Premises, or at least to any security guard posted to

                                                                       8 keep the Banksy safe, is plain. While it may be unusual for graffiti to be considered a hazardous

                                                                       9 substance, it is also unusual for graffiti to be worth potentially hundreds of thousands of dollars.
                                                                      10 Banksy may be the only artist in the world who, when he makes art, simultaneously creates a
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                                                                      11 public health hazard.
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                                                                      12           B.     CC 1019

                                                                      13           400 SLB's analysis regarding CC 1019 consists of the following statement: "as the Court

                                                                      14 observed during the Evidentiary Hearing, the pilaster was not a trade fixture. It had become an

                                                                      15 integral part of the Property." SLB Brief, 4:3-5.
SulmeyerKupetz,




                                                                      16           400 SLB misreads CC 1019. That statute nowhere contains the term "trade fixture".

                                                                      17 Instead, it states:

                                                                      18                  §1019. Removal of fixtures by tenant

                                                                      19                  A tenant may remove from the demised premises, any time during the
                                                                                          continuance of his term, anything affixed thereto for purposes of trade,
                                                                      20
                                                                                          manufacture, ornament, or domestic use, if the removal can be effected
                                                                      21                  without injury to the premises, unless the thing has, by the manner in
                                                                                          which it is affixed, become an integral part of the premises.
                                                                      22

                                                                      23

                                                                      24
                                                                           2
                                                                           This testimony occurred on Day 4 of the Hearing, on January 14, 2022. A written transcript of
                                                                      25
                                                                         this day of the Hearing is on the docket in this adversary proceeding at Docket No. 1238. Further
                                                                      26 references to this transcript are identified as "Day 4 Transcript", followed by a page number and
                                                                         line number of where the cited language can be found on that day's transcript. The language
                                                                      27 referenced by this footnote occurred at page 67, line 1 of the Day 4 Transcript. Attached as
                                                                         Exhibit 1 is the relevant page of the Day 4 Transcript.
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                                                                       1          A.       CC 1013

                                                                       2          The Briefs discuss CC 1013, which states:

                                                                       3                   §1013. Fixtures

                                                                       4                   When a person affixes his property to the land of another, without an
                                                                                           agreement permitting him to remove it, the thing affixed, except as
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                                                                                           otherwise provided in this chapter, belongs to the owner of the land, unless
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                                                                                           exercise the right of removal provided for in Section 1013.5 of this
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                                                                       8
                                                                           CC 1013 does not state, as 400 SLB suggests, "When a person affixes his property to the land of
                                                                       9
                                                                           another, without an agreement permitting him to remove it, the thing affixed … belongs to the
                                                                      10
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                                                                           owner of the land". SLB Brief, 2:24. An additional phrase exists that modifies the quoted
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                                                                           language—the exception contained in CC 1013.5.
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                                                                                  The PA Brief analyzes the implications of CC 1013, including applicability of CC 1013.5.
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                                                                           The SLB Brief does not discuss whether CC 1013.5 is applicable here. As such, there is nothing
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                                                                           in the SLB Brief on that issue to which Plan Agent must reply. To the extent CC 1013 applies to
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SulmeyerKupetz,




                                                                           this dispute, then CC 1013.5 applies for the reasons stated in the PA Brief.
                                                                      16
                                                                                  Both parties agree that CC 1013 could apply. 400 SLB's position is that "land" (as that
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                                                                           term is used in CC 1013) is involved, thus CC 1013 does apply. Plan Agent's position is that land
                                                                      18
                                                                           may be involved, and if so then one of the conditions is met for CC 1013 to apply. The second
                                                                      19
                                                                           condition--that there not be "an agreement permitting him to remove it"--is not met here. The
                                                                      20
                                                                           Lease contains multiple provisions allowing tenant to remove the Drywall, including (1) Section
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                                                                           7.1 (graffiti removal), and (2) other sections permitting removal of Utility Installations and Trade
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                                                                           Fixtures without consent, and Alterations with consent—consent which occurred here including
                                                                      23
                                                                           through the 400 SLB-approved architectural plans which showed the Drywall being removed from
                                                                      24
                                                                           the Premises.
                                                                      25
                                                                                  A further clause allowed removal of the Drywall, thus preventing CC 1013 from being
                                                                      26
                                                                           applicable to the Drywall's removal: Section 7.4(c) which requires the tenant to removal all
                                                                      27
                                                                           hazardous substances.     Section 6.2(a) defines a hazardous substance as any product whose
                                                                      28

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                                                                       1 presence is either potentially injurious to the public health, safety, or welfare of the premises, or a

                                                                       2 basis for potential liability of the Lessor. Mr. Chrismas testified at the Hearing that the Banksy,

                                                                       3 when it appeared, attracted criminal attention almost immediately. Mr. Chrismas stated that a

                                                                       4 guard was accosted while remaining at the Premises overnight to guard the Banksy, by people

                                                                       5 who wanted to tie him up and offered him money. 2 Thankfully that did not happen, but if any

                                                                       6 guard was hurt, or the public hurt, in connection with someone seeking to cut out the Banksy, that

                                                                       7 would have created legal exposure for 400 SLB. The increased hazard to the Premises, or at least

                                                                       8 to any security guard posted to keep the Banksy safe, is plain. While it may be unusual for graffiti

                                                                       9 to be considered a hazardous substance, it is also unusual for graffiti to be worth potentially
                                                                      10 hundreds of thousands of dollars. Banksy may be the only artist in the world who, when he makes
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                                                                      11 art, simultaneously creates a public health hazard.
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                                                                      12          B.      CC 1019

                                                                      13          400 SLB's analysis regarding CC 1019 consists of the following statement: "as the Court

                                                                      14 observed during the Evidentiary Hearing, the pilaster was not a trade fixture. It had become an

                                                                      15 integral part of the Property." SLB Brief, 4:3-5.
SulmeyerKupetz,




                                                                      16          400 SLB misreads CC 1019. That statute nowhere contains the term "trade fixture".

                                                                      17 Instead, it states:

                                                                      18                  §1019. Removal of fixtures by tenant

                                                                      19                  A tenant may remove from the demised premises, any time during the
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                                                                      20
                                                                                          manufacture, ornament, or domestic use, if the removal can be effected
                                                                      21                  without injury to the premises, unless the thing has, by the manner in
                                                                                          which it is affixed, become an integral part of the premises.
                                                                      22

                                                                      23

                                                                      24
                                                                           2
                                                                           This testimony occurred on Day 4 of the Hearing, on January 14, 2022. A written transcript of
                                                                      25
                                                                         this day of the Hearing is on the docket in this adversary proceeding at Docket No. 1238. Further
                                                                      26 references to this transcript are identified as "Day 4 Transcript", followed by a page number and
                                                                         line number of where the cited language can be found on that day's transcript. The language
                                                                      27 referenced by this footnote occurred at page 67, line 1 of the Day 4 Transcript. Attached as
                                                                         Exhibit 1 is the relevant page of the Day 4 Transcript.
                                                                      28

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                                                                       1          At the Hearing, the Court did indicate that it was not inclined to view the Drywall as a

                                                                       2 Trade Fixture. However, the Court was referring to the use of that term as it is defined in the

                                                                       3 Lease. Section 7.3 defines a Trade Fixture as "Lessee's machinery and equipment that can be

                                                                       4 removed without doing material damage to the Premises." That is not the language used in CC

                                                                       5 1019, which instead applies to things affixed "for purposes of trade, manufacture, ornament, or

                                                                       6 domestic use …"

                                                                       7          The SLB Brief does not address whether the Drywall was an object affixed "for purposes

                                                                       8 of trade, manufacture, ornament, or domestic use," and thus falls within the scope of CC 1019.

                                                                       9 For the reasons stated in the PA Brief, the Drywall does fall within the scope of that statute.
                                                                      10          400 SLB suggests that the Court agreed that the Drywall was an integral part of the
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                                                                      11 property. SLB Brief, 4:5. That is not correct. During closing arguments on January 20, 2022, the
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                                                                      12 Court did discuss whether the property was integral to the Premises, but not in the way 400 SLB

                                                                      13 states. 3 Further, 400 SLB misstates that the Drywall was built to "support, and encase a glass

                                                                      14 wall". SLB Brief, 8:6. Mr. Chrismas instead stated that "the glass wall was supported by the

                                                                      15 original building." 4 Mr. Chrismas testified that the Drywall was to be inside the glass wall. 5 It
SulmeyerKupetz,




                                                                      16 was to be located in between the plate glass window and the Robert Irwin sculpture. 6 The light

                                                                      17 sculpture would not have run into the Drywall, but into the stone wall next to it, so that it was

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                                                                      20
                                                                           3
                                                                           The relevant portion of this closing argument is attached as Exhibit 2 (a portion of Docket No.
                                                                      21 1240, specifically on page 58, lines 15-20). As the Court's comments were made in the spirit of
                                                                         open discussion of the issues, those comments cannot be characterized as a decision one way or
                                                                      22 the other, and Plan Agent will not further characterize them.

                                                                      23   4
                                                                           This testimony occurred on Day 3 of the Hearing, on January 13, 2022. A written transcript of
                                                                         this day of the Hearing is on the docket in this adversary proceeding at Docket No. 1237. Further
                                                                      24 references to this transcript are identified as "Day 3 Transcript", followed by a page number and

                                                                      25 line number of where the cited language can be found on that day's transcript. The language
                                                                         referenced by this footnote occurred at page 211, line 15 of the Day 3 Transcript. Attached as
                                                                      26 Exhibit 3 is the relevant page of the Day 3 Transcript.
                                                                         5
                                                                           Day 3 Transcript, pages 207, 208, and 211. These pages are attached hereto as Exhibit 4.
                                                                      27
                                                                         6
                                                                           Day 4 Transcript, 58:22. This page is attached hereto as Exhibit 5.
                                                                      28

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                                                                       1 touching the inside edge of the Drywall. 7 Mr. Chrismas also stated that the Drywall would have a

                                                                       2 lot of electricity in it, to light the sculpture. 8

                                                                       3            The Drywall, once it went up, was the end of the development of the Premises in this

                                                                       4 corner of the property. No plate glass window ever went up along La Brea Avenue. No light

                                                                       5 sculpture was ever built parallel to that plate glass window. No electrical cords ever went into the

                                                                       6 Drywall to power anything. The Drywall never held weight, other than its own. For these

                                                                       7 reasons, and those stated in the PA Brief, the Drywall never became integral to the Property and

                                                                       8 thus falls within the scope of CC 1019.

                                                                       9            C.      CC 1025
                                                                      10            The SLB Brief does not address the applicability of California's accession statute relating
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                                                                      11 to attaching property to the personal property of another--CC 1025. For the reasons stated in the
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                                                                      12 PA Brief, CC 1025 also supports that the Drywall (1) remained property of the tenant when it was

                                                                      13 constructed, and (2) graffiti, when it was sprayed on the Drywall, became owned by the owner of

                                                                      14 the Drywall.

                                                                      15            D.      Value Of The Banksy—Does It Matter?
SulmeyerKupetz,




                                                                      16            The SLB Brief asserts that the Banksy is valuable, and for that reason, it must be

                                                                      17 considered "property" that falls under CC 1013. SLB Brief, 6:9. Plan Agent testified at the

                                                                      18 Hearing that an auction house informed him that the Banksy could be worth anywhere from

                                                                      19 $10,000 to $250,000. That the Banksy has value is thus not in dispute.

                                                                      20            Does this matter? As to the application of CC 1000, 1013, 1019, and 1025, no. Those

                                                                      21 doctrines apply regardless of the value of the personal property that is being attached. Neither

                                                                      22 party argues that because the Drywall had little value prior to being spraypainted, CC 1013, 1019,

                                                                      23 and 1025 cannot apply. Likewise, the relevant terms of the Lease are silent regarding value. The

                                                                      24 terms "Utility Installation," "Trade Fixture," and "Alteration" in Section 7.3(a) do not require an

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                                                                           7
                                                                               Day 4 Transcript, 81:23. This page is attached hereto as Exhibit 6.
                                                                      27
                                                                           8
                                                                               Day 3 Transcript, 214:9; Day 4 Transcript, 19:15. These pages are attached hereto as Exhibit 7.
                                                                      28

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                                                                       1 analysis of value. The two sections of the Lease which require tenant to remove property located

                                                                       2 at the Premises, Sections 6.2 and 7.1 do not require the Court to determine value.

                                                                       3          Value may be relevant to the following issue:       the reasonableness of Ace Museum

                                                                       4 removing the Banksy instead of destroying it.         400 SLB states that nothing prevented Ace

                                                                       5 Museum from destroying the Banksy, and "a single coat of paint would have been the most

                                                                       6 reasonable means to do so." SLB Brief, 16:15-18. If it would have been reasonable to destroy the

                                                                       7 Banksy, was it therefore unreasonable to preserve it from destruction? 400 SLB is of two minds

                                                                       8 as to this. First, it notes Mr. Pagliassotti as stating that removal was unreasonable (SLB Brief,

                                                                       9 16:20). Second, 400 SLB praises Mr. Chrismas for protecting it, as a "wonderful artwork" (SLB
                                                                      10 Brief, 5:23), notes that Plan Agent has also protected the Banksy (SLB Brief, 6:5), and cites
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                                                                      11 Castillo v. G&M L.P., 950 F.3d 155, 166-167 (2d. Cir. 2020) for a passage stating that Banksy's
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                                                                      12 art is "of significant artistic merit and cultural importance." SLB Brief, 5:4. The article, "The

                                                                      13 Law of Banksy; Who Owns Street Art?," 82 U. Chi. L. Rev. 2293 (2015) by Mr. Salib--referred to

                                                                      14 by the Court in its tentative for the February 14, 2022 hearing, contains a lengthy discussion of

                                                                      15 doctrines that can be applied to the ownership of street art. In that article, Mr. Salib argues the
SulmeyerKupetz,




                                                                      16 merits of each doctrine based, in part, on whether or not the doctrine achieves the goal of

                                                                      17 preserving culturally important art.     Ace Museum's actions in removing the Banksy were
                                                                      18 consistent with that goal.

                                                                      19          400 SLB suggests that it would have been reasonable to destroy the Banksy. That is
                                                                      20 wrong. It was reasonable for Ace Museum to protect it.

                                                                      21          C.     Dreamland

                                                                      22          The Briefs discuss Dreamland, and each attach a copy of the ruling. Plan Agent responds

                                                                      23 to the following statements made in the SLB Brief regarding the purported similarity between

                                                                      24 Dreamland and this case.

                                                                      25          Statement: "Notably, the wall on which the Mural was painted "had attracted graffiti on at

                                                                      26                 least one occasion…" SLB Brief, 11:17.

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                                                                       1             Response: True in Dreamland, but not here. Mr. Chrismas testified that the Drywall had

                                                                       2                    not been subject to graffiti prior to the Banksy appearing on it. 9

                                                                       3

                                                                       4             Statement: "Shortly after the Banksy Mural appeared, "Dreamland caused a section of the

                                                                       5                    wall of the Building on which the Mural had been painted to be severed from the

                                                                       6                    Building and removed, and thereafter for the wall to be made good." SLB Brief,

                                                                       7                    11:23.

                                                                       8             Response: The Dreamland Banksy remained on the wall for approximately one month.

                                                                       9                    Dreamland, ¶¶8, 14. Here, Mr. Chrismas removed the Banksy approximately four
                                                                      10                    days after it appeared. Also here, Mr. Chrismas did not repair the Drywall after
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR
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                                                                      11                    removing the Banksy. Instead, approximately 10 months after it was removed, he
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                                                                      12                    had the remaining Drywall completely removed.
                                                                      13

                                                                      14             Statement: Dreamland's covenants to keep fixtures in repair are similar to section 7.1 of

                                                                      15                    the Lease. SLB Brief, 12:24.
SulmeyerKupetz,




                                                                      16             Response: The language of these two provisions is:

                                                                      17                    Dreamland:

                                                                      18                    (b) To keep the whole of the demised premises including all glass of the
                                                                                            windows locks latches and fasteners all boundary fences (if any) and all
                                                                      19                    fixtures and additions thereto in good and substantial repair and
                                                                                            condition. 10
                                                                      20

                                                                      21                    Lease Section 7.1:

                                                                      22                           (a) In General. Subject to the provisions of Paragraph 2.2
                                                                                            (Condition), 2.3 (Compliance), 6.3 (Lessee's Compliance with Applicable
                                                                      23                    Requirements), 7.2 (Lessor's Obligations), 9 (Damage or Destruction), and
                                                                                            14 (Condemnation), Lessee shall, at Lessee's sole expense, keep the
                                                                      24                    Premises, Utility Installations (Intended for Lessee's exclusive use, no
                                                                      25                    matter where located), and Alterations in good order, condition and repair

                                                                      26
                                                                           9
                                                                               Day 4 Transcript, 23:2. This page is attached hereto as Exhibit 8.
                                                                      27
                                                                           10
                                                                                Dreamland, ¶15.
                                                                      28

                                                                                                                               7
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                                                                       1                  (whether or not the portion of the Premises requiring repairs, or the means
                                                                                          of repairing the same, are reasonably or readily accessible to Lessee, and
                                                                       2                  whether or not the need for such repairs occurs as a result of Lessee's use,
                                                                                          any prior use, the elements or the age of such portion of the Premises),
                                                                       3
                                                                                          including, but not limited to, all equipment or facilities, such as plumbing,
                                                                       4                  HVAC equipment, electrical, lighting facilities, boilers, pressure vessels,
                                                                                          fire protection system, fixtures, walls (interior and exterior), foundations,
                                                                       5                  ceilings, roofs, roof drainage systems, floors, windows, doors, plate glass,
                                                                                          skylights, landscaping, driveways, parking lots, fences, retaining walls,
                                                                       6                  signs, sidewalks and parkways located in, on, or adjacent to the Premises.
                                                                                          Lessee, in keeping the Premises in good order, condition and repair, shall
                                                                       7
                                                                                          exercise and perform good maintenance practices, specifically including
                                                                       8                  the procurement and maintenance of the service contracts required by
                                                                                          Paragraph 7.1(b) below. Lessee's obligations shall include restorations,
                                                                       9                  replacements or renewals when necessary to keep the Premises and all
                                                                                          improvements thereon or a part thereof in good order, condition and state
                                                                      10                  of repair. Lessee shall, during the term of this Lease, keep the exterior
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR




                                                                                          appearance of the Building in a first-class condition (including, e.g.,
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                                                                      11
                                                                                          graffiti removal) consistent with the exterior appearance of other similar
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                                                                      12                  facilities of comparable age and size in the vicinity, including, when
                                                                                          necessary, the exterior repainting of the Building.
                                                                      13

                                                                      14          Both provisions require the tenant to keep the leased property in "good and substantial
                                                                      15 repair and condition" (Dreamland) and "good order, condition and repair" (Lease). The Lease,
SulmeyerKupetz,




                                                                      16 however, contains two additional sentences that describe what that obligation entails.           That
                                                                      17 obligation includes "replacements" and specifically requires "graffiti removal". This obligation

                                                                      18 also specifically extends to "Alterations" and "walls (interior and exterior)".

                                                                      19          As such, the maintenance requirement in the Lease is substantially different than that
                                                                      20 contained in Dreamland. Further in Dreamland, the tenant owned none of the alterations made to

                                                                      21 the property, whereas the Lease states that Lessee-Owned Alterations, Trade Fixtures, and Utility

                                                                      22 Installations made by the tenant are property of the tenant.

                                                                      23          Statement: The Dreamland tenant's covenants in Section 2(h) (to not make alterations) is
                                                                      24                  similar to that of Section 7.3 of the Lease. SLB Brief, 13:6.
                                                                      25          Response: The language of these two provisions is:
                                                                      26                  Dreamland:
                                                                      27                  "(h) Not without the consent in writing of the Lessor to cut maim or
                                                                                          injure any of the walls or timbers of the demised premises or make any
                                                                      28                  alteration in or addition to the demised premises and not to erect or place

                                                                                                                            8
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                                                                       1                    on the demised premises or any part thereof any temporary erection or
                                                                                            shed of any kind whatsoever and not to dig any sand gravel or earth
                                                                       2                    thereout. And also not to impose or place or allow to be imposed or
                                                                                            placed upon any of the floors or to suspend or allow to be suspended from
                                                                       3
                                                                                            the ceilings or roofs of the demised premises anything which may cause
                                                                       4                    undue stress to the floors or timbers of the building. 11

                                                                       5                    Lease, Section 7.3(b):
                                                                       6                    "(b) Consent. Lessee shall not make any Alterations or Utility
                                                                                            Installations to the Premises without Lessor's prior written consent…."
                                                                       7
                                                                                    Both leases contain a consent requirement, but the Lease applies only to Alterations and
                                                                       8

                                                                       9 Utility Installations, not Trade Fixtures. Further, the Lease contains exceptions to the consent
                                                                      10 requirement of Section 7.3(b) that are embodied elsewhere in the Lease, including Section 7.1 and
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR




                                                                      11 Section 6.2.
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                                                                      12            Additionally, the Lease's consent requirement was itself amended on August 28, 2009, in

                                                                      13 the "Assignment Of And First Amendment To Standard Industrial/Commercial Single-Tenant
                                                                                     12
                                                                      14 Lease—Net," which states:
                                                                                            3.     Construction Approval & Procedures
                                                                      15
SulmeyerKupetz,




                                                                      16                    (a)     Subject to satisfaction of all of the terms and conditions of
                                                                                            Paragraph 7.3 of the Form Lease (as modified by Paragraph 3 of the
                                                                      17                    Addendum), including Lessor's prior written approval of construction
                                                                                            plans and specifications therefor (which approval Lessor shall provide
                                                                      18                    within five (5) business days after request an which Lessor shall not
                                                                      19                    unreasonably withhold, condition or delay), Lessor hereby agrees that
                                                                                            Lessee shall have the right to perform Alterations and/or Utility
                                                                      20                    Installations to the Premises as currently contemplated by Lessee,
                                                                                            including but not limited to, certain structural improvements and
                                                                      21                    improvements affecting the building systems (the "Remises
                                                                                            Improvements").
                                                                      22

                                                                      23            Thus as of August 28, 2009, the Lease's consent requirement diverged significantly from

                                                                      24 that in Dreamland. 400 SLB now had to provide consent within five business days after request.

                                                                      25 400 SLB was no longer allowed to "unreasonably withhold, condition or delay" that consent. 400

                                                                      26
                                                                           11
                                                                                Dreamland, ¶15.
                                                                      27
                                                                           12
                                                                                This document was admitted as Exhibit D-11 at the Hearing.
                                                                      28

                                                                                                                            9
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                                                                       1 SLB expressly consented to Ace Museum making Alterations and Utility Installations "as

                                                                       2 contemplated by Lessee," conditioned only upon 400 SLB's approval of construction plans and

                                                                       3 specifications. Mr. Dayan testified that 400 SLB did consent to those plans. Those plans did not,

                                                                       4 however, identify the Drywall as a feature of the Premises. Ace Museum thus had consent to

                                                                       5 remove the Drywall, even without application of Section 7.1 or 6.2.

                                                                       6          Statement: Just as the English court found, the potential significant value of the Banksy

                                                                       7                 is, indeed, a relevant consideration. SLB Brief, 15:27.

                                                                       8          Response: 400 SLB misunderstands the reason that the Dreamland court analyzed the

                                                                       9 value of the Banksy. It did so because the Dreamland lease gave tenant no right to remove a wall,
                                                                      10 and the only way tenant could argue it possessed the wall was to cite to precedent involving cases
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                                                                      11 where the value of the removed object was minimal—for example, dirt. The Dreamland court
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                                                                      12 rejected extending that exception to objects with significant value. Here, Plan Agent is not

                                                                      13 asserting that Ace Museum had the right to remove the Banksy because it had little value. Ace

                                                                      14 Museum had the right to do so because the Lease permitted it to do so, and because of California's

                                                                      15 accession statutes contained in CC 1013, 1019, and 1025.
SulmeyerKupetz,




                                                                      16          Statement: Much like in California, once detached from the premises, the English court

                                                                      17                 found the Banksy Mural became chattel. SLB Brief, 16:27.

                                                                      18          Response: In Dreamland, the wall upon which the Banksy appeared was owned by the

                                                                      19 landlord, and the Dreamland court ruled that when the wall was removed by tenant, the wall

                                                                      20 became personal property of the landlord.        Here, the Drywall was property of the tenant,

                                                                      21 regardless of whether it was a Utility Installation, Trade Fixture, or Alteration. Its ownership did

                                                                      22 not change upon its removal.

                                                                      23

                                                                      24          At the conclusion of the Hearing on January 14, 2022, the Court stated that in order to

                                                                      25 resolve this matter, it needed a rationale for which party owned the asset based on the evidence

                                                                      26

                                                                      27

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                                                                       1 and appropriate law. 13 Plan Agent has provided that rationale. The Drywall, built of materials

                                                                       2 owned by Mr. Chrismas, remained property of Mr. Chrismas when it was constructed. Later it

                                                                       3 became the property of Ace Museum by succession, and when Ace Museum removed it, it was the

                                                                       4 property of Ace Museum at the moment it was removed. It remained property of Ace Museum

                                                                       5 thereafter. The California doctrines of accession indicate that the Drywall remained property of

                                                                       6 the tenant at all relevant times.

                                                                       7             400 SLB cites no case or statute in support of its assertion that the Banksy changed

                                                                       8 ownership on September 2, 2016 (PA Brief, 10:22). The ownership-shifting provisions in the

                                                                       9 Lease to which 400 SLB cites apply only to Lessee-Owned Alterations. Upon the Banksy's
                                                                      10 removal, it was no longer a Lessee-Owned Alteration as it no longer met the definition of
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR
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                                                                      11 "Alteration" at all. Instead, as the Dreamland case indicates, it became personal property.
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                                                                      12 Dated: February 17, 2022                     SulmeyerKupetz
                                                                                                                      A Professional Corporation
                                                                      13

                                                                      14

                                                                      15                                              By:
SulmeyerKupetz,




                                                                                                                            Steven F. Werth
                                                                      16                                                    David V. Sack
                                                                                                                            Attorneys for Sam S. Leslie
                                                                      17

                                                                      18

                                                                      19

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                                                                      27
                                                                           13
                                                                                Day 4 Transcript, 218:25-219:9. These pages are attached hereto as Exhibit 9.
                                                                      28

                                                                                                                            11
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                  EXHIBIT 1
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       1                     UNITED STATES BANKRUPTCY COURT
       2                     CENTRAL DISTRICT OF CALIFORNIA
       3                                  --oOo--
       4 In Re:                          )        Case No. 2:13-bk-14135-RK
                                         )
       5   ART AND ARCHITECTURE BOOKS    )        Chapter 11
           OF THE 21ST CENTURY,          )
       6                                 )        Los Angeles, California
                     Debtor.             )        Friday, January 14, 2022
       7   ______________________________)        9:00 a.m.
                                         )
       8   THE OFFICIAL COMMITTEE OF     )        Adv. No. 2:15-ap-01679-RK
           UNSECURED CREDITORS OF THE    )
       9   BANKRUPTCY ESTATE OF ART AND )
           ARCHITECTURE BOOKS OF THE     )
      10   21st CENTURY,                 )
                                         )
      11             Plaintiff,          )
                                         )
      12        vs.                      )
                                         )
      13   ACE GALLERY NEW YORK          )
           CORPORATION,                  )
      14                                 )
                     Defendant.          )
      15   ______________________________)
      16                                      CONT’D TRIAL RE: APPLICATION
                                              OF SAM S. LESLIE, PLAN AGENT,
      17                                      FOR ISSUANCE OF ORDER
                                              APPROVING THE ISSUANCE OF WRIT
      18                                      OF EXECUTION AND APPOINTMENT
                                              OF PLAINTIFF AS SUBSTITUTE
      19                                      CUSTODIAN FOR U.S. MARSHAL IN
                                              FURTHERANCE OF EXECUTION OF
      20                                      WRIT AND NOTICE OF LEVY; AND
                                              FOR ORDER APPROVING SALE OF
      21                                      ARTWORKS FREE AND CLEAR OF ANY
                                              CLAIM OF LIEN OR INTEREST
      22

      23

      24
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      25 transcript produced by transcription service.




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                                                                                   ii
       1                                      CONT'D HEARING RE: PLAN
                                              AGENT'S MOTION TO LIMINE TO
       2                                      EXCLUDE THE EXPERT REPORT
                                              SUBMITTED BY 400 S. LA BREA
       3
                                              CONT'D HEARING RE: PLAN
       4                                      AGENT'S MOTION IN LIMINE TO
                                              EXCLUDE THE TESTIMONY OF
       5                                      DOUGLAS CHRISMAS
       6                        TRANSCRIPT OF PROCEEDINGS
                            BEFORE THE HONORABLE ROBERT KWAN
       7                     UNITED STATES BANKRUPTCY JUDGE
       8 APPEARANCES:

       9 For Plan Agent Sam Leslie:           STEVEN F. WERTH, ESQ.
                                              DAVID V. SACK, ESQ.
      10                                      SulmeyerKupetz
                                              333 South Grand Avenue
      11                                      Suite 3400
                                              Los Angeles, California 90071
      12                                      (213) 626-231
      13 For Defendant 400 South              BRIAN L. DAVIDOFF, ESQ.
           La Brea:                           KEITH P. BANNER, ESQ.
      14                                      Greenberg, Glusker, Fields,
                                                Claman & Machtinger
      15                                      2049 Century Park East
                                              Suite 2600
      16                                      Los Angeles, California 90067
                                              (310) 201-7530
      17

      18 Court Recorder:                      Wanda Toliver
                                              United States Bankruptcy Court
      19                                      Edward R. Roybal Federal
                                                Building
      20                                      255 East Temple Street
                                              Los Angeles, California 90012
      21

      22 Transcriber:                         Briggs Reporting Company, Inc.
                                              9711 Cactus Street
      23                                      Suite B
                                              Lakeside, California 92040
      24                                      (310) 410-4151
      25




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                                                                                    iii
       1                                 I N D E X
       2 WITNESSES:                         DIRECT   CROSS    REDIRECT      RECROSS
       3 Douglas Chrismas                     --        2          46          73
       4 John Pagliassotti                    87     105           --          --
       5 Alberto Hernandez                    --     118          121          --
       6 John Pagliassotti                    --     135          165         198
       7

       8 EXHIBITS                                       IDENTIFIED        RECEIVED
       9 Plaintiff's:

      10 P- 9 Press release                                  35                --
      11 P-20 Picture of entrance to museum                  61                --
      12 P-21 Picture of second floor                        61                --
              of museum taken in May 2013
      13
         P-19 Pictures of museum taken in                   129                --
      14 thru May 2013
         P-20
      15
         P-21 Picture of second floor of                    129                --
      16      museum taken in May 2013
      17 P-22 Pictures of museum taken in                   129                --
              May 2013
      18
         P-23 Picture of north end of                       129                --
      19      museum on the second floor
              taken in May 2013
      20
         P-24 Pictures of museum taken in                   129                --
      21 thru May 2013
         P-26
      22

      23 Defendant's:

      24 D- 2 Pagliassotti expert report,                   114               --
              dated 7-13-21
      25




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                                                                                   iv
       1 EXHIBITS:      (Cont’d.)
       2 EXHIBITS                                       IDENTIFIED        RECEIVED
       3 Defendant’s:

       4 D- 4 Google picture of museum                     55                 --
              property, dated July 2007
       5
         D-11 First amendment to the lease                109                 --
       6
         D-18 Picture of exhibition on                    121               129
       7      the ground floor of museum
       8 D-27 Video of Banksy removal                      91                 --
       9 D-28 Blank lease, original version               178               187
              (Section 7.3B only admitted)
      10

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                                                                                   66
       1 for the building of the building was up in the front office

       2 all laid out on big desks, so he was -- he would be able to

       3 go and understand what we were doing in the museum for

       4 planning his exhibition.        And he would have most --
       5 Q      I don’t want you to speculate about what he would have
       6 -- what he might have done.         I’m asking you what you did.
       7 So, are you saying that you left the architectural plans out

       8 there specifically for him to review?

       9 A      Yes.
      10 Q      Did you -- when you gave him access to the building,
      11 did you know he was going to -- did you know he was going to

      12 paint a painting?

      13 A      No.
      14 Q      Were you surprised subsequently to find that there was
      15 what appeared to be a Banksy on the wall of the building?

      16 A      Yes.
      17 Q      Why did you remove -- why did you cause the Banksy to
      18 be removed?

      19 A      Because there was -- (indiscernible) as hired, there
      20 was definite possibility of theft, which has happened to

      21 Banksys all over the world.         And so we wanted to prevent
      22 that from happening, so we put a 24-hour guard on it, but we

      23 found that to be very expensive.

      24        And then finally one of the guards came up to us and
      25 said that he had been accosted that -- that particular night




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                                                                                    67
       1 by people who wanted to tie him up, and they were willing to

       2 give him money for him to allow them to tie him up.                It
       3 became crazy and expensive.

       4        So I knew that I could go and (indiscernible) to the
       5 area that contained the Banksy, and put it back in.                I mean,
       6 we’re in the business of art, so we know how to do

       7 restorative work like that.         And so, it would remove the
       8 need for the 24-hour guard service.          That expense would be
       9 removed from the museum.        And the moment the glass was in, I
      10 could just -- we would simply restore the Banksy to the

      11 exact position that it was taken from.

      12 Q      Now, you said earlier that you weren’t aware that he
      13 was going to paint the Banksy.         So when you saw the Banksy,
      14 why did you come to the conclusion that you wanted it to be

      15 -- when you cut it out, why did you decide that you wanted

      16 it be there and be replaced there?

      17 A      When I was at lunch with Banksy’s people and this -- so
      18 Banksy did come in that night, we know that he was there.

      19 And then what was interesting is that he did not paint the

      20 painting at nighttime.        He waited until we were, all the
      21 staff were gone for lunch, because we all left together for

      22 lunches, but he still had the key so he got in -- he could

      23 get in.    So he got in there and he painted the painting in
      24 daylight.

      25        So when I came back from my lunch, I’m walking down the




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       1                     UNITED STATES BANKRUPTCY COURT
       2                     CENTRAL DISTRICT OF CALIFORNIA
       3                                  --oOo--
       4 In Re:                          )        Case No. 2:13-bk-14135-RK
                                         )
       5   ART AND ARCHITECTURE BOOKS    )        Chapter 11
           OF THE 21ST CENTURY,          )
       6                                 )        Los Angeles, California
                     Debtor.             )        Thursday, January 20, 2022
       7   ______________________________)        1:30 p.m.
                                         )
       8   THE OFFICIAL COMMITTEE OF     )        Adv. No. 2:15-ap-01679-RK
           UNSECURED CREDITORS OF THE    )
       9   BANKRUPTCY ESTATE OF ART AND )
           ARCHITECTURE BOOKS OF THE     )
      10   21st CENTURY,                 )
                                         )
      11             Plaintiff,          )
                                         )
      12        vs.                      )
                                         )
      13   ACE GALLERY NEW YORK          )
           CORPORATION,                  )
      14                                 )
                     Defendant.          )
      15   ______________________________)
      16                                      CONT’D TRIAL RE: APPLICATION
                                              OF SAM S. LESLIE, PLAN AGENT,
      17                                      FOR ISSUANCE OF ORDER
                                              APPROVING THE ISSUANCE OF WRIT
      18                                      OF EXECUTION AND APPOINTMENT
                                              OF PLAINTIFF AS SUBSTITUTE
      19                                      CUSTODIAN FOR U.S. MARSHAL IN
                                              FURTHERANCE OF EXECUTION OF
      20                                      WRIT AND NOTICE OF LEVY; AND
                                              FOR ORDER APPROVING SALE OF
      21                                      ARTWORKS FREE AND CLEAR OF ANY
                                              CLAIM OF LIEN OR INTEREST
      22

      23

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      25 transcript produced by transcription service.




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       1                        TRANSCRIPT OF PROCEEDINGS
                            BEFORE THE HONORABLE ROBERT KWAN
       2                     UNITED STATES BANKRUPTCY JUDGE
       3 APPEARANCES:

       4 For Plan Agent Sam Leslie:           STEVEN F. WERTH, ESQ.
                                              DAVID V. SACK, ESQ.
       5                                      SulmeyerKupetz
                                              333 South Grand Avenue
       6                                      Suite 3400
                                              Los Angeles, California 90071
       7                                      (213) 626-2311
       8 For Defendant 400 South              BRIAN L. DAVIDOFF, ESQ.
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       9                                      Greenberg, Glusker, Fields,
                                                Claman & Machtinger
      10                                      2049 Century Park East
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      11                                      Los Angeles, California 90067
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      13 Court Recorder:                      Wanda Toliver
                                              United States Bankruptcy Court
      14                                      Edward R. Roybal Federal
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      15                                      255 East Temple Street
                                              Los Angeles, California 90012
      16

      17 Transcriber:                         Briggs Reporting Company, Inc.
                                              9711 Cactus Street
      18                                      Suite B
                                              Lakeside, California 92040
      19                                      (310) 410-4151
      20

      21

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                                                                                    1
       1   LOS ANGELES, CALIFORNIA       THURSDAY, JANUARY 20, 2022 1:30 PM
       2                                  --oOo--
       3        (Call to order of the Court.)
       4                THE CLERK:   Please come to order.      This United
       5 States Bankruptcy Court is now in session.            The Honorable
       6 Robert Kwan, Bankruptcy Judge, presiding.

       7                THE COURT:   The Court will now call its 1:30
       8 calendar.      This is a continuation of the trial of the so-
       9 called, “Banksy” matter in the Art and Architecture Books of

      10 the 21st Century bankruptcy case and the adversary

      11 proceeding of Leslie v. Ace Gallery New York, Incorporated

      12 -- Ace Gallery New York Corporation, et al.

      13                Appearances, please.
      14                MR. WERTH (via Zoom):     Yes, thank you, your Honor.
      15 Good afternoon.       This is Steve Werth and Dave Sack from
      16 SulmeyerKupetez.       And we are here representing the plan
      17 agent, Mr. Sam Leslie, who is also here today by Zoom.

      18 Thank you.

      19                MR. SACK (via Zoom):     Good afternoon, your Honor.
      20                MR. DAVIDOFF (via Zoom):     And good afternoon, your
      21 Honor.    Brian Davidoff and Keith Banner, Greenberg, Glusker,
      22 on behalf of 400 South La Brea.

      23                THE COURT:   This is the time for closing
      24 arguments.      The Court had discussed with the parties that it
      25 would be a two-hour hearing.         And that each party would have




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       1 terms of the lease, which I do want to get to.             But I think
       2 (indiscernible) --

       3                THE COURT:   Well, you know, it does
       4 (indiscernible), then we can argue over -- well, you know,

       5 it’s debatable as to injury, you know, de minimis injury as

       6 opposed to material injury.         I think I used the term,
       7 “material damage.”       You know, because I was listening for
       8 that in the testimony, whether or not there was material

       9 damage to the premises.

      10                And all I saw was that, yes, there was damage to
      11 the drywall, but then the drywall was completely replaced.

      12 And there was damage to the studs, but the studs were

      13 replaced.      So -- but I didn’t see or hear anything about
      14 damage otherwise.

      15                And then regarding the integral part of the
      16 premises.      Well, it’s only integral if it had a
      17 functionality.      It didn’t really have any function, the
      18 pilaster didn’t have any function, other than to support the

      19 light fixture, the Robert Irwin light fixture and the glass

      20 wall, which were never put up.

      21                So, you know, was it integral because it was
      22 fastened?      Well, it’s not really -- it doesn’t seem to be
      23 integral because it wasn’t -- it really didn’t have any

      24 function until those features were put up, and they weren’t

      25 put up, so.




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                  EXHIBIT 3
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       1                     UNITED STATES BANKRUPTCY COURT
       2                     CENTRAL DISTRICT OF CALIFORNIA
       3                                  --oOo--
       4 In Re:                          )        Case No. 2:13-bk-14135-RK
                                         )
       5   ART AND ARCHITECTURE BOOKS    )        Chapter 11
           OF THE 21ST CENTURY,          )
       6                                 )        Los Angeles, California
                     Debtor.             )        Thursday, January 13, 2022
       7   ______________________________)        9:00 a.m.
                                         )
       8   THE OFFICIAL COMMITTEE OF     )        Adv. No. 2:15-ap-01679-RK
           UNSECURED CREDITORS OF THE    )
       9   BANKRUPTCY ESTATE OF ART AND )
           ARCHITECTURE BOOKS OF THE     )
      10   21st CENTURY,                 )
                                         )
      11             Plaintiff,          )
                                         )
      12        vs.                      )
                                         )
      13   ACE GALLERY NEW YORK          )
           CORPORATION,                  )
      14                                 )
                     Defendant.          )
      15   ______________________________)
      16                                      CONT’D TRIAL RE: APPLICATION
                                              OF SAM S. LESLIE, PLAN AGENT,
      17                                      FOR ISSUANCE OF ORDER
                                              APPROVING THE ISSUANCE OF WRIT
      18                                      OF EXECUTION AND APPOINTMENT
                                              OF PLAINTIFF AS SUBSTITUTE
      19                                      CUSTODIAN FOR U.S. MARSHAL IN
                                              FURTHERANCE OF EXECUTION OF
      20                                      WRIT AND NOTICE OF LEVY; AND
                                              FOR ORDER APPROVING SALE OF
      21                                      ARTWORKS FREE AND CLEAR OF ANY
                                              CLAIM OF LIEN OR INTEREST
      22

      23

      24
         Proceedings produced by electronic sound recording;
      25 transcript produced by transcription service.




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                                                                                   ii
       1                                      CONT'D HEARING RE: PLAN
                                              AGENT'S MOTION TO LIMINE TO
       2                                      EXCLUDE THE EXPERT REPORT
                                              SUBMITTED BY 400 S. LA BREA
       3
                                              CONT'D HEARING RE: PLAN
       4                                      AGENT'S MOTION IN LIMINE TO
                                              EXCLUDE THE TESTIMONY OF
       5                                      DOUGLAS CHRISMAS
       6                        TRANSCRIPT OF PROCEEDINGS
                            BEFORE THE HONORABLE ROBERT KWAN
       7                     UNITED STATES BANKRUPTCY JUDGE
       8 APPEARANCES:

       9 For Plan Agent Sam Leslie:           STEVEN F. WERTH, ESQ.
                                              DAVID V. SACK, ESQ.
      10                                      SulmeyerKupetz
                                              333 South Grand Avenue
      11                                      Suite 3400
                                              Los Angeles, California 90071
      12                                      (213) 626-2311
      13 For Defendant 400 South              BRIAN L. DAVIDOFF, ESQ.
           La Brea:                           KEITH P. BANNER, ESQ.
      14                                      Greenberg, Glusker, Fields,
                                                Claman & Machtinger
      15                                      2049 Century Park East
                                              Suite 2600
      16                                      Los Angeles, California 90067
                                              (310) 201-7530
      17

      18 Court Recorder:                      Wanda Toliver
                                              United States Bankruptcy Court
      19                                      Edward R. Roybal Federal
                                                Building
      20                                      255 East Temple Street
                                              Los Angeles, California 90012
      21

      22 Transcriber:                         Briggs Reporting Company, Inc.
                                              9711 Cactus Street
      23                                      Suite B
                                              Lakeside, California 92040
      24                                      (310) 410-4151
      25




                                                        Briggs Reporting Company, Inc.


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                                                                                    iii
       1                                 I N D E X
       2 WITNESSES:                         DIRECT   CROSS     REDIRECT     RECROSS
       3 Jesse Ottinger                       --       23          63             --
       4 Daryoush Dayan                       --      70          172         181
       5 Douglas Chrismas                     --     188           --          --
       6

       7 EXHIBITS                                       IDENTIFIED        RECEIVED
       8 Plaintiff's:

       9 P-14 Lease agreement and addenum,                  110              --
              dated 7-20-2006
      10
         P-15 First amendment to the lease                  113              --
      11
         P-34 E-mail from Angela Lee to                     155             159
      12      Mr. Dayan with picture of brick
              wall (Only picture admitted)
      13

      14 Defendant's:

      15 D- 1 Pictures of interior of property               35              --
      16 D- 6 Permit                                         25              --
      17 D- 7 Property appraisal 2009                        30              --
      18 D- 8 Pictures of property from                      37              --
              2011 appraisal
      19
         D-10 Lease agreement                               172              --
      20
         D-12 Plot plan attachment drawing                   40              --
      21
         D-13 Rendering of what museum would                 43              --
      22      look like
      23 D-15 Google picture of property,                    56              --
              February 2011
      24
         D-16 E-mail string between Mr. Dayan               150              --
      25      and Angela Hui of Cathay Bank




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                                                                                   iv
       1 EXHIBITS                                       IDENTIFIED        RECEIVED
       2 Defendant’s:

       3 D-17 E-mail from Mike Smith to                   159               --
              Mr. Dayan and Farhad Abolfathi,
       4      dated 12-13-2011; e-mail string
       5 D-19 Picture of property dated                    31               --
              September 2008
       6
         D-20 Picture of column                           147               --
       7

       8

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                                                                                     1
       1 LOS ANGELES, CALIFORNIA         THURSDAY, JANUARY 13, 2022          9:00 AM
       2                                  --oOo--
       3        (Call to order of the Court.)
       4                THE CLERK:   Please come to order.       This United
       5 States Bankruptcy Court is now in session.             The Honorable
       6 Robert Kwan, Bankruptcy Judge, presiding.

       7                THE COURT:   The Court will call the matter on the
       8 9:00 o’clock calendar, the continuation of the trial in the

       9 Art and Architecture Books of the 21st Century matter,

      10 regarding the Banksy, alleged Banksy artwork.              And we’re
      11 proceeding in the adversary proceeding of Leslie v. Ace

      12 Gallery New York Corporation, et al.

      13                Appearances, please.
      14                MR. WERTH (via Zoom):     Yes.   Good morning, your
      15 Honor.    This is Steve Werth, and I have my colleague, Dave
      16 Sack from SulmeyerKupetz, for the plan agent.              And to give
      17 the courtroom a visual of what’s going on, is Mr. Sack and I

      18 are in a room alone in the offices of SulmeyerKupetz.                 Thank
      19 you.

      20                MR. SACK (via Zoom):     Good morning, your Honor.
      21                MR. DAVIDOFF (via Zoom):     Good morning, your
      22 Honor.    Brian Davidoff and Keith Banner on behalf of 400
      23 South La Brea.      And we are both in a conference room at our
      24 offices.

      25                THE COURT:   All right.     Are both sides ready to




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                                                                                   211
       1 glass wall.

       2                THE COURT:   Yeah.   It would support the glass
       3 wall, right?

       4                THE WITNESS:   Well, there’s the glass wall, your
       5 Honor, and then right two feet away from the glass wall

       6 there is the wall that has the Irwin light sculpture on it,

       7 which had -- which is a very complex wall with all the

       8 electricity that goes in it to run over 200, four-foot long

       9 light fixtures.       So that that was a real, in a sense,
      10 structure that was supporting the front end of that

      11 building.

      12                THE COURT:   Well, what was the -- so, what --
      13 you’re saying it’s a lateral, so it’s not the glass wall it

      14 was supporting, it was some other wall?

      15                THE WITNESS:   No.   The glass wall was supported by
      16 the original building.        And right behind that --
      17                THE COURT:   Okay.   The glass wall was supported by
      18 the concrete column?

      19                THE WITNESS:   Yes, sir.
      20                THE COURT:   All right.    And then the pilaster was
      21 to support something else, right?

      22                THE WITNESS:   Three hundred light fixtures.
      23                THE COURT:   Okay.
      24                THE WITNESS:   And we also had the problem, because
      25 we did not want any pylons supporting the glass, that there




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                                                                                   207
       1 A       That wall would not be removed.
       2 Q       My question is, was it -- I guess I’ll break it down.
       3 Was the wall upon which the Banksy was painted an interior

       4 wall?

       5 A       It was a part of what encased the front window and gave
       6 security to the building.        And it would -- once it was in
       7 there, it would never be changed unless they tore down the

       8 building.

       9 Q       I’m only asking --
      10                THE COURT:   Well, his question was -- you need to
      11 answer his question, Mr. Chrismas.          Was that an -- was that
      12 intended to be an interior wall?          I thought your testimony
      13 was that there was going to be a glass wall outside of that,

      14 and so it’d be interior.

      15                THE WITNESS:   There was -- if I can -- there was a
      16 glass wall --

      17                THE COURT:   Your testimony in your declaration was
      18 that there was going to be a glass wall out --

      19                THE WITNESS:   I read my -- what I said in my
      20 testimony was absolutely correct.

      21                THE COURT:   Right.
      22                THE WITNESS:   (Indiscernible.)
      23                THE COURT:   So, this would have been inside of the
      24 glass wall, right, this drywall?

      25                THE WITNESS:   Yes, but it had to support a wall




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                                                                                   208
       1 that was --

       2                THE COURT:   No, no, no.    Well, Mr. Werth was
       3 absolutely right.       He’s just taking a step at a time.
       4                THE WITNESS:   Okay.
       5                THE COURT:   You’re trying to advocate, and that’s
       6 not a good idea, all right?          Just answer the questions.
       7 Your job as a witness is to answer the question.

       8                THE WITNESS:   I’ll be taking more --
       9                THE COURT:   We’re taking it step by step.          You
      10 know, I’m sure that --

      11                THE WITNESS:   Okay.
      12                THE COURT:   -- Mr. Werth is going to ask you about
      13 whether it’s structural or not, but we’re just asking you,

      14 was this interior or exterior?         I understood it was interior
      15 because it’s behind -- it was going to be behind the glass

      16 wall that was going to be put in.

      17                THE WITNESS:   You’re correct.
      18                THE COURT:   All right.    So it’s interior.
      19                Okay.   Next question --
      20                THE WITNESS:   Yes.
      21                THE COURT:   -- Mr. Werth.
      22 BY MR. WERTH:

      23 Q      Mr. Chrismas, we’re still talking about the same wall.
      24 Is the wall -- was the wall upon which the Banksy is painted

      25 a non-structural wall?




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                                                                                   211
       1 glass wall.

       2                THE COURT:   Yeah.   It would support the glass
       3 wall, right?

       4                THE WITNESS:   Well, there’s the glass wall, your
       5 Honor, and then right two feet away from the glass wall

       6 there is the wall that has the Irwin light sculpture on it,

       7 which had -- which is a very complex wall with all the

       8 electricity that goes in it to run over 200, four-foot long

       9 light fixtures.       So that that was a real, in a sense,
      10 structure that was supporting the front end of that

      11 building.

      12                THE COURT:   Well, what was the -- so, what --
      13 you’re saying it’s a lateral, so it’s not the glass wall it

      14 was supporting, it was some other wall?

      15                THE WITNESS:   No.   The glass wall was supported by
      16 the original building.        And right behind that --
      17                THE COURT:   Okay.   The glass wall was supported by
      18 the concrete column?

      19                THE WITNESS:   Yes, sir.
      20                THE COURT:   All right.    And then the pilaster was
      21 to support something else, right?

      22                THE WITNESS:   Three hundred light fixtures.
      23                THE COURT:   Okay.
      24                THE WITNESS:   And we also had the problem, because
      25 we did not want any pylons supporting the glass, that there




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       1 Do you remember when approximately those were built, if you

       2 recall?

       3 A      No, I don’t remember the exact date of -- you know, it
       4 was an ongoing project, so -- and the next step from what

       5 you’re showing me here, was we were getting bids for the

       6 glass wall.

       7 Q      Had you received any bids for the glass wall?
       8 A      Yes.
       9 Q      And you’d actually received the fixtures for the Irwin
      10 light installation?

      11 A      We had them custom made, paid for them, and they were
      12 in storage in the back of the museum space.

      13 Q      And the purpose of the pilaster on the right-hand side
      14 of this picture, and the left-hand side of the upper picture

      15 was what?      Why were those installed?
      16 A      It -- well, there’s four sides to the glass window.                It
      17 was a top, bottom, and there’s the two ends.             And the
      18 pilasters were the two ends.

      19 Q      So the pilaster would have been the ends of the glass
      20 window, or the ends of the Robert Irwin fixture, if you

      21 recall?

      22 A      It’s between the two, starting at the window and going
      23 to the Irwin.

      24 Q      It would have been between the two.         Okay.     Thank you.
      25 You were asked by Mr. Werth whether the wall on which the




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                                                                                   81
       1        And, also, I am very trained to be able to perceive and
       2 look at art and make an analysis.          And that in my analysis,
       3 it is definitely a Banksy.

       4 Q      My final question is about the pilaster.           And I’d like
       5 to bring up a picture, or at least direct everyone’s

       6 attention back again to Exhibit D-1.

       7                THE COURT:   “D-1.”
       8                MR. WERTH:   D-1.
       9                THE COURT:   All right.    Defendant’s 1.
      10 BY MR. WERTH:

      11 Q      So, Mr. Chrismas, I’m asking you now about the top
      12 picture and the pilaster.          The goal was to have a Robert
      13 Irwin sculpture adjacent to this pilaster.            And I want to
      14 know, would it have run straight into the pilaster?

      15 A      Yes.    To the right-hand side of the pilaster.           So you
      16 can see it.      They have already removed all the other
      17 materials.      It was -- it was in preparation to receive the
      18 Robert Irwin wall.       It was the next thing to be installed,
      19 along with the plate glass window.

      20 Q      So, the Robert Irwin sculpture would have run straight
      21 into the stone wall, which also would have touched the

      22 right-hand side of the pilaster?

      23 A      Yes, that’s correct.
      24                MR. WERTH:   No further questions, your Honor.
      25                THE COURT:   All right.




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       1 red triangle, I’m going to --

       2 A      Yes, I got it.
       3 Q      -- refer to as “the pilaster.”         I think I understood
       4 you to say that the Robert Irwin light sculpture needed

       5 electrical cords.       And so my question to you is, were some
       6 of them to run inside the pilaster?

       7 A      I’m sure the -- to fire the 250 fixtures of the Robert
       8 Irwin, that wall would have had a lot of electricity, that

       9 end wall would have had electricity in it to light the

      10 extent of -- the fixtures were the entire length of the

      11 front window.      So -- and you can see above that the -- that
      12 that section is identical to the section above, which you

      13 can see on the photograph underneath, the second photograph,

      14 the lower one.      That whole section basically is the front
      15 window.    There is a, we’ll call it the sculpture wall and
      16 then the glass wall, were all contained within that area.

      17 And so that was a framing device that was there.              What’s
      18 interesting to me --

      19 Q      Mr. Chrismas, I have to stop you, just because we’re --
      20 it’s 4:20 in the afternoon, and we’re going to be done --

      21 A      Okay.
      22 Q      -- soon for the day, and I just need to move forward.
      23 Thank you though.       If we were sitting at a table doing --
      24 talking, I wouldn’t --

      25                THE COURT:   All right.    Why don’t you ask your




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                                                                                     19
       1 hollow area behind the drywall, right, to hold it up?

       2                THE WITNESS:   Correct.    Yes.
       3                THE COURT:   All right.    So there was a hollow
       4 space because the metal studs were there to hold up the

       5 drywall, right?

       6                THE WITNESS:   Yeah.
       7                THE COURT:   All right.
       8                THE WITNESS:   Correct.
       9                THE COURT:   Okay.   So the answer is, yes.
      10 BY MR. WERTH:

      11 Q      Mr. Chrismas, was your intent that some day there would
      12 be electrical cords running down through the pilaster that

      13 would power the Robert Irwin light sculpture?

      14 A      That’s up to the electrical contractor where he runs
      15 the wires, but he would have to do whatever he’d have to do.

      16 But I would suspect that there would be -- they would

      17 penetrate that wall to get cords in, because you’re -- you

      18 were lighting 250 light fixtures, big light fixtures.

      19        And so, I’m certain that we would -- that’s another
      20 reason having that space on the metal studs, what have you,

      21 is that they could run your conduit in there, which is

      22 basically done in every situation.          And you can see the
      23 space on the right is open, so they have the access to go

      24 and put conduit in there, to go and hook up for any

      25 electrical connections they might need.             But I -- I didn’t




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                                                                                   23
       1 BY MR. WERTH:

       2 Q      Mr. Chrismas, was the pilaster ever spray painted with
       3 graffiti before the Banksy was put on it?

       4 A      Not that I remember.
       5 Q      Did you ever tell anyone to spray paint the pilaster?
       6 A      When you say, “spray paint,” what are you talking
       7 about?

       8 Q      Did you ever tell anyone to spray paint upon the
       9 pilaster at any time?

      10                MR. DAVIDOFF:    Mr. Werth, are you talking about
      11 before or after the Banksy, or while the Banksy was on

      12 there?    Can you be specific as to time, please?
      13                MR. WERTH:   I said, “at any time.”
      14                THE WITNESS:    All right.   When you say spray
      15 paint, are you talking about spraying out the white color on

      16 or rolling it on with a roller?          I don’t understand --
      17                THE COURT:   Yeah.   That’s a fair question you ask.
      18 BY MR. WERTH:

      19 Q      I -- other than white paint that would go on with a
      20 roller, did you ever tell anyone at any time to spray paint

      21 the pilaster?

      22 A      I do not believe so.
      23 Q      Do you think the artist known as Banksy is the one who
      24 created the art that we are talking about in this trial?

      25 That we’ve been referring to as the Banksy, but I now have




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       1                MR. WERTH:    Your Honor, we see it on our system.
       2 Keith, you may need to use like a Google Chrome

       3 (indiscernible) --

       4                THE COURT:    Yeah, yeah.    I learned that, that you
       5 might have to refresh your browser or I think -- what do you

       6 call it, to dump your browsing history and clean out your

       7 browsing history.

       8                MR. BANNER:    We’ll do that, your Honor.        Thank
       9 you.

      10                THE COURT:    Yeah.
      11                MR. BANNER:    Thank you, your Honor.
      12                THE COURT:    Yeah, I don’t -- yeah.       Yeah.     Yeah, I
      13 did post it earlier this morning, and then I -- my law clerk

      14 indicated I had some typos, so I had to -- I refreshed it

      15 this afternoon.

      16                So, you know, street art apparently is something
      17 new generally in the law, and ownership of street art.                 And
      18 there are apparently various theories that haven’t, I think,

      19 really congealed in the case law as to how -- you know, who

      20 owns it.       But, you know, the theories may or may not be
      21 dispositive, but -- so, you know, I haven’t decided either

      22 way as to how -- you know, because I wanted to get the

      23 benefit of your arguments, but I wanted to tell you what I

      24 was looking at and thinking about.

      25                I do have to come up I think with some sort of




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       1 rationale of ownership by either party.            And, you know, one
       2 is, you know, how is owner -- you know, basically, I -- you

       3 know, the issue is, the street art created by the artist is

       4 probably not owned by the artist for various reasons.                 And
       5 so, it comes down to who has ownership rights in the

       6 premises.       And the lease indicates that, as I asked Mr.
       7 Pagliassotti, the tenant does have some ownership rights,

       8 subject to restrictions, in tenant-created alterations.                    So,
       9 what does that mean?

      10                And does he have a right to remove -- you know,
      11 Mr. Pagliassotti’s testimony was, no, based on the industry

      12 standards and the form lease and the consent.              And I think
      13 the issue of consent here is that I -- it doesn’t appear the

      14 evidence -- from the evidence, it doesn’t indicate that Mr.

      15 Chrismas or Ace Museum ever obtained consent for

      16 installation of the pilaster or removal of the pilaster, and

      17 the rebuilding of the pilaster.           So, what does that mean,
      18 based on application of the lease?

      19                And I’ll probably hear from counsel for the
      20 landlord on that, based on interpretation of specific

      21 provisions of the lease that govern.            And so I don’t
      22 anticipate saying that.

      23                And then on the other side is the graffiti
      24 removal.       So -- and the reasonableness of the removal.            Mr.
      25 Pagliassotti didn’t really expound on that, but it wasn’t




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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 333
South Grand Avenue, Suite 3400, Los Angeles, CA 90071.

A true and correct copy of the foregoing document entitled (specify): PLAN AGENT’S RESPONSE TO BRIEF FILED BY
400 S. LA BREA ADDRESSING ISSUES RAISED IN JANUARY 21, 2022 SCHEDULING ORDER will be served or was
served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
February 17. 2022 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

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          jbalitzer@ecf.inforuptcy.com;dwalker@ecf.inforuptcy.com;kmccamey@sulmeyerlaw.com
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                                                                                         Service information continued on attached page.

2. SERVED BY UNITED STATES MAIL:
On (date)                      , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.


                                                                                         Service information continued on attached page.

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) February 17, 2022 , I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

Via Personal Delivery
The Honorable Robert Kwan
U.S. Bankruptcy Court
Roybal Federal Building
255 E. Temple Street
Bin outside of Suite 1682
Los Angeles, CA 90012

                                                                                         Service information continued on attached page.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



 February 17, 2022                         Debbie A. Perez                                     /s/Debbie A. Perez
 Date                                      Printed Name                                        Signature




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